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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    GUILLERMO WILLIE RIOJAS,          )       No. CV-F-05-947 REC
                                       )       (No. CR-F-94-5212 MDC)
10                                     )
                                       )       ORDER DENYING MOTION TO
11                    Petitioner,      )       VACATE, SET ASIDE OR CORRECT
                                       )       SENTENCE PURSUANT TO 28
12             vs.                     )       U.S.C. § 2255 AND DIRECTING
                                       )       ENTRY OF JUDGMENT FOR
13                                     )       RESPONDENT
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                    Respondent.      )
                                       )
16                                     )

17        On July 25, 2005, petitioner Guillermo Willie Riojas filed a

18   motion to vacate, set aside or correct sentence pursuant to 28

19   U.S.C. § 2255.

20        Petitioner was convicted by jury trial of interference with

21   interstate commerce by threats or violence in violation of 18

22   U.S.C. § 1951(a) (Count 5), two counts of use of a firearm during

23   a crime of violence in violation of 18 U.S.C. § 924(c) (Counts 6

24   and 12), and motor vehicle theft - carjacking in violation of 18

25   U.S.C. § 2119 (Count 11).      Petitioner was sentenced to 96 months

26   as to Counts 5 and 11 to be served concurrently, 10 years

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1    consecutive as to Count 6, and 20 years consecutive as to Count

2    12.    Petitioner appealed to the Ninth Circuit.          Petitioner’s

3    conviction and sentence were affirmed by the Ninth Circuit on May

4    27, 1997.     See United States v. Delacorte, et al., 1997 WL 226467

5    (9th Cir. 1997).

6           In his Section 2255 motion, petitioner raises two grounds

7    for relief.

8           In Ground One he contends that he was denied the effective

9    assistance of counsel

10                because counsel failed to investigate the
                  facts of the case and research the law in
11                correlation thereto, petitioner was harmed
                  and prejudiced from counsel’s
12                action/inactions, and but for counsel’s
                  actions/inactions petitioner would not have
13                been found guilty in violation of 18 USC §
                  1951(a) count 5, interference of State
14                Commerce [sic]

15   However, in the body of his motion, however, petitioner does not

16   refer to ineffective assistance of counsel or point to any

17   specific investigation that counsel should have conducted or

18   evidence that counsel should have discovered that would

19   substantiate petitioner’s claim.           Rather, petitioner asserts that

20   “insufficient evidence existed to support a finding that his

21   robbery affected interstate commerce and had no effect on

22   interstate commerce beyond an absolute de minimus effect.”

23          With regard to Ground One, petitioner’s claim is subject to

24   the one-year limitation period applicable to Section 2255 motions

25   and appears to be time-barred.         When a claim or claims appear to

26   be time-barred, the court usually requires a petitioner to file

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1    an amended petition setting forth the facts upon which he intends

2    to rely in contending that the claim(s) are not time-barred

3    and/or that the petitioner is entitled to equitable tolling

4    within the meaning of Calderon v. U.S. Dist. Court for Central

5    Dist. of Cal., 128 F.3d 1283 (9th Cir. 1997), cert. denied, 522

6    U.S. 1099 and 523 U.S. 1061 (1998), overruled on other grounds,

7    163 F.3d 503 (9th Cir. 1998).

8           However, the court will not follow that procedure here.

9    Notwithstanding issues of timeliness, petitioner cannot raise

10   this claim in this Section 2255 motion.       In affirming

11   petitioner’s conviction of Count 5, the Ninth Circuit rejected

12   petitioner’s contention on appeal that the evidence was not

13   sufficient to support that conviction, holding in pertinent part:

14               The robbery of Andre’s Restaurant had a
                 sufficient nexus with interstate commerce to
15               support the conviction of both defendants
                 under 18 U.S.C. § 1951(a). Lucille Estrada,
16               a clerk at Andre’s, testified that the
                 perpetrators took money from the cash
17               register. A food supplier for Andre’s
                 Restaurant, Joseph Galland, testified that he
18               sold to Andre’s various food items that came
                 from other states. The defendants depleted
19               the resources of a business engaged in
                 interstate commerce.
20
            In Ground Two petitioner contends that his sentence was
21
     enhanced the trial judge beyond the statutory maximum prescribed
22
     by law in violation of Blakely v. Washington, 524 U.S. 296
23
     (2004).
24
            Petitioner is not entitled to relief with regard to Ground
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     Two.    Neither the Supreme Court’s decision in Blakely nor the
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1    Supreme Court’s decision in United States v. Booker, ___ U.S.

2    ___, 125 S.Ct. 738 (2005) are applied retroactively on collateral

3    review.   See Schardt v. Payne, ___ F.3d ___, 2005 WL 1593468 (9th

4    Cir. 2005); Varela v. United States, 400 F.3d 864 (11th Cir.

5    2005); Humphress v. United States, 398 F.3d 855 (6th Cir. 2005);

6    McReynolds v. United States, 397 F.3d 479 (7th Cir. 2005); Guzman

7    v. United States, 404 F.3d 139 (2nd Cir. 2005).

8         Petitioner also contends in Ground Two that his convictions

9    and the consecutive sentences imposed for the two counts of

10   violation of 18 U.S.C. § 924(c) violate the Double Jeopardy

11   Clause.   Again, petitioner’s claim appears to be time-barred.

12   However, even if it were not time-barred, the claim has no merit.

13   Petitioner was convicted of the use or carrying of a firearm

14   during two separate crimes, the robbery of the restaurant and the

15   carjacking.

16        Finally, petitioner contends that the district court imposed

17   the statutorily required sentences for the violations of Section

18   924(c) and then also enhanced his sentence under the Sentencing

19   Guidelines because of his use or carrying of a firearm.

20        Again, this claim appears to be time-barred.         However, even

21   if not time-barred, because petitioner did not raise this claim

22   on direct appeal, he has waived his right to do so by way of

23   Section 2255.   See United States v. Schlesinger, 49 F.3d 483 (9th

24   Cir. 1994).

25        ACCORDINGLY:

26        1.   Petitioner’s motion to vacate, set aside or correct

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1    sentence pursuant to 28 U.S.C. § 2255 is denied.

2         2.   The Clerk of the Court is directed to enter judgment for

3    respondent.

4         IT IS SO ORDERED.

5    Dated:    August 8, 2005                      /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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